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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


BRIAN EDWARD DAVIS                    )
                                      )
      Petitioner,                     )
                                      )
              v.                      )                     No.
                                      )
LORIE DAVIS, Director,                )                     Capital Case
Texas Department of Criminal Justice, )
Correctional Institutions Division,   )
                                      )
      Respondent.                     )
____________________________________)


                        MOTION FOR APPOINTMENT OF COUNSEL


       Petitioner, BRIAN DAVIS, by undersigned counsel, respectfully requests that the Court

appoint Deborah Williams, Federal Public Defender for the Southern District of Ohio, to represent

him in federal habeas corpus proceedings pursuant to 18 U.S.C. § 3599(a)(2). In support of this

request, petitioner sets forth the following:

       1.        On June 11, 1992, Mr. Davis was convicted of capital murder and five days later

he was sentenced to death. After many subsequent proceedings, on November 10, 2009, the Texas

Court of Criminal Appeals reversed Mr. Davis’s death sentence and remanded it for a new trial as

to sentence. After a new punishment trial, on March 9, 2011, Mr. Davis was once again sentenced

to death. The Texas Court of Criminal Appeals affirmed Mr. Davis’ conviction and death sentence

on direct appeal on October 23, 2013. Davis v. State, 2013 WL 5773353 (Tex. Crim. App. 2013)

(unpublished).

       2.        On May 25, 2016, the Texas Court of Criminal Appeals denied Mr. Davis’

application for habeas relief. Mr. Davis is entitled to the appointment of counsel under 18 U.S.C.

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§ 3599(a). He has never had his constitutional claims for relief addressed by a federal court and is

entitled to the assistance of counsel in order to present those claims. See 18 U.S.C. § 3599(e);

McFarland v. Scott, 512 U.S. 849, 857-58 (1998).

       3.      The Texas Office for Capital and Forensic Writs (OCFW) represented Mr. Davis

on state habeas proceedings pursuant to Texas Code of Criminal Procedure, Article 11.071, and

continued to represent Mr. Davis at the time his state habeas application was denied. The OCFW,

however, is statutorily precluded from representing clients in federal habeas proceedings. We have

learned that counsel with the Texas Habeas Assistance and Training (TX HAT) project1 has

recruited counsel willing to undertake Petitioner's federal habeas representation.

       4.      The Federal Public Defender for the Southern District of Ohio maintains a Capital

Habeas Unit that specializes in capital habeas cases under 28 U.S.C. § 2254. Deborah Williams,

the Federal Public Defender for the Southern District of Ohio, is willing to take the appointment

for Mr. Davis. She will assign attorneys responsible for Mr. Davis’ representation from the Capital

Habeas Unit in her office. This unit is supervised by Carol Wright. Attorney Wright has been

licensed to practice law in the state and federal courts of Ohio and Pennsylvania for thirty years

with a concentration in capital cases. She has been supervising the Capital Habeas Unit in the

Southern District of Ohio Federal Public Defender Office since it was formed in 2008. She has

been found to be qualified for appointment as counsel in § 2254 cases by the Northern and

Southern District of Ohio federal courts and the Sixth Circuit Court of Appeals in numerous

instances. As with all out-of-district appointments, the Federal Defender for the Southern District




1
  Texas Habeas Assistance and Training (TXHAT) project is an initiative of the Administrative
Office of The United States Courts, Office for Defender Services. The TXHAT project is
comprised of experienced capital habeas attorneys who contract with the Administrative Office to
locate qualified federal habeas counsel and provide resources and support to them.
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of Ohio must seek approval to be appointed from the Administrative Office of the United States

Courts, Defender Services Office, and has done so here. On June 27 2016, the Administrative

Office approved the appointment of the Federal Defender to represent Mr. Davis. Pursuant to the

protocol in place, Chief Judge Guy Cole of the United States Court of Appeals, Sixth Circuit, has

been notified and has indicated that he has no objection to this out-of-district appointment. In

addition, Chief Judge Carl E. Stewart of the United States Court of Appeals, Fifth Circuit, has

interposed no objection to the appointment of the Federal Defender.

       4.      The qualifications of Ms. Williams, Ms. Wright, and the Capital Habeas Unit of the

Federal Defenders for the Southern District of Ohio well surpass the qualifications for counsel

outlined in 18 U.S.C. § 3599(c) and (d), and they are willing to accept appointment. Ms. Wright’s

contact information is as follows:



                                     Carol Wright
                                     Supervising Attorney
                                     Capital Habeas Unit
                                     Federal Public Defender, Southern Ohio
                                     10 W. Broad Street, Suite 1020
                                     Columbus, Ohio 43215
                                     (614) 469-2999


       5.      Mr. Davis has been deemed indigent by the state courts and entitled to appointed

counsel, and he remains so.




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       WHEREFORE, Petitioner requests that the Court appoint Deborah Williams, Federal

Public Defender for the Southern District of Ohio, to represent him in federal habeas corpus

proceedings.


       June 27, 2016
       Austin, Texas
                                             Respectfully submitted,

                                             /s/ Benjamin B. Wolff

                                             Benjamin B. Wolff
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                                             S.D.Tex. ID No. 2367246
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                                CERTIFICATE OF SERVICE

      On June 27, 2016, a copy of the foregoing motion was served upon the Office of the
Texas Attorney General by United States mail at the following address:

                      Office of the Attorney General
                      P.O. Box 12548
                      Austin, TX 78711-2548

       In addition, an electronic copy of this motion was served upon Edward L. Marshall,
Chief, Criminal Appeals Division, Office of the Texas Attorney General via electronic mail.



                                            /s/ Benjamin B. Wolff




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